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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE



 ACADIA PHARMACEUTICALS INC.,

                        Plaintiffs,

          v.                                              C.A. No. 1:20-cv-00985-RGA

 AUROBINDO PHARMA LIMITED, et al.,
                                                          CONSOLIDATED
                        Defendants.




                            JOINT CLAIM CONSTRUCTION CHART

       Pursuant to Paragraph 9 of the Joint Scheduling Order (D.I. 17), Plaintiff ACADIA

Pharmaceuticals Inc. (“ACADIA” or “Plaintiff”) and Defendants MSN Laboratories Private Ltd.

and MSN Pharmaceuticals, Inc. (collectively, “MSN”); Zydus Pharmaceutical (USA) Inc. and

Cadila Healthcare Limited (collectively, “Zydus”); Teva Pharmaceuticals USA Inc. (“Teva”); and

Aurobindo Pharma Limited and Aurobindo Pharma USA Inc. (collectively, Aurobindo”) (all

collectively, the “Defendants”) hereby submit this Joint Claim Construction Chart for United States

Patent Nos. 10,449,185 (“the ’185 patent”); 10,646,480 (“the ’480 patent”); and 10,849,891 (“the

’891 patent”).

       Attached as Exhibit 1 is a chart identifying the claim terms/phrases for which the parties have

a joint proposed construction. The Joint Claim Construction Chart is attached as Exhibit 2 in which

the parties have set forth their respective proposed constructions for certain terms of the ’185 patent,

the ’480 patent, and the ’891 patent. In addition to their proposed constructions, the parties set forth

citations to the intrinsic evidence in support of their respective constructions. In addition to the

intrinsic evidence specifically identified in Exhibit 2, the parties each reserve the right to rely on
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additional intrinsic evidence to the extent it is necessary to provide additional context or to rebut

arguments made by the other parties during the claim construction briefing. Each party further

reserves the right to rely on any intrinsic evidence identified by the other party. The parties also

reserve their rights to rely on extrinsic evidence, including expert testimony, to the extent

appropriate.

          Copies of the ’185 patent, the ’480 patent, and the ’891 patent, and portions of the intrinsic

evidence relied upon by the parties are attached, as follows:


   Exhibit                                             Description
     A          U.S. Patent No. 10,449,185
     B          U.S. Patent No. 10,646,480
     C          U.S. Patent No. 10,849,891
     D          U.S. App. No. 16/363,378, June 13, 2019 Non-Final Office Action
     E          U.S. App. No. 16/363,378, July 30, 2019 Applicant Remarks and Claim Amendments
                U.S. App. No. 16/363,378, September 6, 2019 Applicant-Initiated Interview
      F
                Summary
     G          U.S. App. No. 16/363,378, September 6, 2019 Notice of Allowance
     H          U.S. App. No. 16/363,378, September 6, 2019 “Miscellaneous Internal Document”
     I          U.S. App. No. 16/571,554, October 10, 2019 Non-Final Office Action
     J          U.S. App. No. 16/571,554, November 1, 2019 Applicant Remarks
                U.S. App. No. 16/571,554, December 17, 2019 Supplemental Amendment and
     K
                Applicant Remarks
      L         U.S. App. No. 16/571,554, January 30, 2020 Final Office Action
                U.S. App. No. 16/571,554, February 18, 2020 Applicant Remarks After Final Office
     M
                Action
     N          U.S. App. No. 16/571,554, February 19, 2020 Applicant-Initiated Interview Summary
     O          U.S. App. No. 16/571,554, February 19, 2020 “Miscellaneous Internal Document”
     P          U.S. App. No. 16/571,554, March 11, 2020 Notice of Allowance
     Q          U.S. App. No. 16/836,086, May 15, 2020 Non-Final Office Action
     R          U.S. App. No. 16/836,086, October 15, 2020 Notice of Allowance




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Dated: September 10, 2021                     SO STIPULATED:

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                                                 EXHIBIT 1
                                    -- JOINT PROPOSED CONSTRUCTIONS --

    Claim Term/Phrase for              Patent Claims                          Joint Proposed Construction
        Construction

“a blended pimavanserin       ’185 patent, claim 1;               “a mixture of pharmaceutical ingredients including
composition”                  ’480 patent, claims 1, 5, 12, 14;   pimavanserin or a pharmaceutically acceptable salt
                              ’891 patent, claims 1, 8            thereof and one or more excipients mixed together”


“the blended pimavanserin     ’480 patent, claims 3, 6, 7, 12,    The term “the blended pimavanserin composition”
composition”                  16; ’891 patent, claims 7, 11       refers to the term “a blended pimavanserin
                                                                  composition” which is recited in the same claim or in
                                                                  a parent claim
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                                                            EXHIBIT 2
                                             -- JOINT CLAIM CONSTRUCTION CHART --

    Claim Term/Phrase for         Plaintiff’s Proposed          Plaintiff’s Intrinsic       Defendants’ Proposed          Defendants’ Intrinsic
        Construction 1               Construction                    Evidence                   Construction                   Evidence

    “granulated                 See the construction         ’480 patent specification:    pimavanserin tartrate         ’480 patent specification:
    pimavanserin tartrate”      immediately below 2          3:66–4:16, 4:47–63,           granulated alone              Fig. 2 and Fig. 3;
                                                             8:40–52, 10:4–39,                                           1:15-18; 1:22-28; 1:65-
    ’185 patent, claim 1;                                    12:4–6, 12:38–43,
                                                                                                                         67; 2:1-16, 22-25, 34-47;
    ’480 patent, claims 1, 5,                                12:59–64, 16:6–12,
                                                             17:36–51, 20:65–21:22,                                      3:52-4:24; 4:47-56; 4:64-
    12, 14, 15;                                                                                                          5:2; 8:53-9:13; 9:44-49;
                                                             and 22:12–28
    ’891 patent, claim 1                                                                                                 9:50-11:34; 11:56-12:10;
                                                             The claims of the ’185                                      12:28-37; 15:5-48; 15:55-
                                                             patent, the ’480 patent,                                    16:17; 16:18-24; 16:25-
    “40 mg granulated           “Granulation resulting       and the ’891 patent           40 mg pimavanserin            17:10; 17:15-27, 55-64;
    pimavanserin tartrate”      from an act or process in                                  tartrate granulated alone     18:27-44; 18:46-19:25;
                                which particles, including   U.S. App. No.
    ’185 patent, claim 1                                     16/363,378 at, e.g.,                                        19:38-45; Examples
                                40 mg pimavanserin
    ’480 patent, claims 1, 5,   tartrate, are made to        (1) June 13, 2019 Non-                                      (20:12-24:15)
    12, 14                      adhere to form larger,       Final Office Action;
                                multiparticle entities”      (2) July 30, 2019                                           The claims of the ’185
    ’891 patent, claim 1
                                                             Applicant Remarks and                                       patent, the ’480 patent,
                                                             Claim Amendments;                                           and the ’891 patent


1
        The parties reserve the right to reference additional intrinsic evidence, including any intrinsic evidence cited or relied upon by
any other party as well as the context of the intrinsic evidence. Intrinsic evidence cited by the parties in support of any term is
incorporated by reference to all other terms. The parties’ citation to the specification of the ’480 patent shall also signify a citation to the
specifications of the each of the ’185 patent and the ’891 patent, which share a common specification.
2
        Plaintiff does not believe the term “granulated pimavanserin tartrate” should be construed, but rather the same but more complete
term “40 mg granulated pimavanserin tartrate.” In the context of the asserted claims, this term should be given the construction
immediately below.
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“the granulated             The term “the granulated     (3) September 6, 2019      the pimavanserin tartrate    ’185 patent FH:
pimavanserin tartrate”      pimavanserin tartrate”       Applicant-Initiated        that has been granulated     7/30/2019 Amendment in
                            refers to the term “40 mg    Interview Summary;         alone                        Response to Non-Final
’480 patent, claims 1, 5,   granulated pimavanserin      (4) September 6, 2019
12, 14, 15;                                                                                                      Office Action
                            tartrate” which is recited   Notice of Allowance;
                            in the same claim or in a    (5) September 6, 2019
’891 patent, claim 1                                                                                             ’480 Patent FH:
                            parent claim                 “Miscellaneous Internal
                                                         Document”                                               11/1/2019, Response to
                                                                                                                 Non-Final Office Action;
                                                         U.S. App. No.                                           12/17/2019, Remarks
                            The term “the granulated     16/571,554 at, e.g.,                                    Made in Amendment;
“the granulated                                                                     the pimavanserin that has
                            pimavanserin” refers to      (1) October 10, 2019
pimavanserin”                                                                       been granulated alone        2/18/2020, Response to
                            the term “40 mg              Non-Final Office Action;
’185 patent, claim 1                                     (2) November 1, 2019                                    Final Office Action;
                            granulated pimavanserin
                                                         Applicant Remarks;                                      2/19/2020, Examiner
’480 patent, claim 20       tartrate” which is recited
                            in the same claim or in a    (3) December 17, 2019                                   Interview Summary
                            parent claim                 Supplemental                                            Record; 2/19/2020, Misc.
                                                         Amendment and                                           Internal Document (slides
                                                         Applicant Remarks;                                      presented at the
                                                         (4) January 30, 2020
                                                                                                                 Interview)
                                                         Final Office Action;
“granulated                 “Granulation resulting                                  pimavanserin or a
                                                         (5) February 18, 2020
pimavanserin or a           from an act or process in    Applicant Remarks After    pharmaceutically
                            which particles, including   Final Office Action;       acceptable salt granulated
pharmaceutically
                            pimavanserin or a            (6) February 19, 2020      alone
acceptable salt thereof”    pharmaceutically             Applicant-Initiated
’891 patent, claim 8        acceptable salt thereof,     Interview Summary;
                            are made to adhere to        (7) February 19, 2020
                            form larger, multiparticle   “Miscellaneous Internal
                            entities”                    Document”;
                                                         (8) March 11, 2020
                                                         Notice of Allowance
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                                                             U.S. App. No.
                                                             16/836,086 at, e.g.,
                                                             (1) May 15, 2020 Non-
                                                             Final Office Action;
                                                             (2) October 15, 2020
                                                             Notice of Allowance

    “the bulk density of the   This term is not recited in   N/A                       the bulk density as          ’185 patent specification:
    pimavanserin tartrate”     any asserted claim and is                               measured on the              Fig. 2 and Fig. 3;
                               not proper for                                          pimavanserin tartrate        1:14-17; 1:21-28; 1:65-
    ’185 patent, claim 3 3     construction                                            alone
                                                                                                                    67; 2:1-16, 22-25, 33-48;
                                                                                                                    3:54-4:25; 4:48-57; 4:65-
                                                                                                                    5:3; 8:33-60; 9:25-30;
                                                                                                                    9:31-11:16; 11:38-59;
                                                                                                                    12:16-26; 14:54-15:31;
                                                                                                                    15:38-64; 16:1-60; 16:65-
                                                                                                                    17:10; 17:38-47; 18:10-
                                                                                                                    27; 18:29-19:8; 19:22-29;
                                                                                                                    19:36-42; Examples
                                                                                                                    (19:65-24:14)

                                                                                                                    The claims of the ’185
                                                                                                                    patent, the ’480 patent,
                                                                                                                    and the ’891 patent




3
 Plaintiff has previously informed Defendants that claims 3-5 of the ’185 patent are no longer asserted against any defendant.
Accordingly, this term is not recited in any asserted claim and is not proper for construction. The parties are working on the formal
documents to reflect the removal of claims 3-5 of the ’185 patent from the case.
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                                                                            ’185 patent FH:
                                                                            7/30/2019 Amendment in
                                                                            Response to Non-Final
                                                                            Office Action

                                                                            ’480 patent FH:
                                                                            11/1/2019, Response to
                                                                            Non-Final Office Action;
                                                                            12/17/2019, Remarks
                                                                            Made in Amendment;
                                                                            2/18/2020, Response to
                                                                            Final Office Action;
                                                                            2/19/2020 Examiner
                                                                            Interview Summary
                                                                            Record , 2/19/2020 Misc.
                                                                            Internal Document(slides
                                                                            presented at the
                                                                            Interview)
